                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 14-CR-3054-LRR
 vs.                                    ORDER REGARDING
                                   MAGISTRATE’S REPORT AND
 DAVID LUIZ LEE HUERTA,                 RECOMMENDATION
                                    CONCERNING DEFENDANT’S
          Defendant.                       GUILTY PLEA
                      ____________________

                      I. INTRODUCTION AND BACKGROUND
       On October 23, 2014, a two-count Indictment was filed against the defendant David
Luiz Lee Huerta. On March 25, 2015, the defendant appeared before United States Chief
Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts 1 and 4 of the
Indictment. On March 25, 2015, Judge Scoles filed a Report and Recommendation in
which he recommended that the defendant’s guilty pleas be accepted. No objections to
Judge Scoles’s Report and Recommendation were filed. The court, therefore, undertakes
the necessary review of Judge Scoles’s recommendation to accept the defendant’s pleas in
this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:

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             The district judge must determine de novo any part of the
             magistrate judge’s disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
March 25, 2015, and ACCEPTS the defendant’s pleas of guilty in this case to Counts 1
and 4 of the Indictment.
      IT IS SO ORDERED.
      DATED this 13th day of April, 2015.




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